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           EXHIBIT B
              Case 5:19-cv-00963-OLG Document 64-2 Filed 06/22/20 Page 2 of 3
   RICHARDSON: BRIAN KEITH INGRAM


                                                                                Page 1
·1· · · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3· ·DR. GEORGE RICHARDSON;· · · · · ·)
· · ·ROSALIE WEISFELD; AUSTIN JUSTICE )
·4· ·COALITION; COALITION OF TEXANS· ·)
· · ·WITH DISABILITIES; MOVE TEXAS· · )
·5· ·CIVIC FUND; LEAGUE OF WOMEN· · · )
· · ·VOTERS OF TEXAS; and AMERICAN GI )
·6· ·FORUM OF TEXAS, INC.,· · · · · · )
· · · · · · · · · · · · · · · · · · · )
·7· · · · · ·Plaintiffs,· · · · · · · )
· · · · · · · · · · · · · · · · · · · )Civil Case No.
·8· ·v.· · · · · · · · · · · · · · · ·)5:19-cv-00963-OLG
· · · · · · · · · · · · · · · · · · · )
·9· ·TEXAS SECRETARY OF STATE; TRUDY· )
· · ·HANCOCK, in her official· · · · ·)
10· ·capacity as BRAZOS COUNTY· · · · )
· · ·ELECTIONS ADMINISTRATOR; and· · ·)
11· ·PERLA LARA, in her official· · · )
· · ·capacity as CITY OF McALLEN,· · ·)
12· ·TEXAS, SECRETARY,· · · · · · · · )
· · · · · · · · · · · · · · · · · · · )
13· · · · · ·Defendants.· · · · · · · )

14· · · · · · · **********************************
· · · · · · · · ·REMOTE VIDEOTAPED DEPOSITION OF
15· · · · · · · · · · · BRIAN KEITH INGRAM
· · · · · · · · · · · · · ·May 11, 2020
16· · · · · · · **********************************

17· · · · · ·REMOTE VIDEOTAPED DEPOSITION OF BRIAN KEITH

18· · ·INGRAM, produced as a witness at the instance of

19· · ·the Plaintiffs, and duly sworn, was taken in the

20· · ·above-styled and numbered cause on May 11, 2020,

21· · ·from 9:32 a.m. to 12:38 p.m., remotely before

22· · ·Rebecca A. Graziano, CSR, RPR, CRR, in and for the

23· · ·State of Texas, reported by machine shorthand,

24· · ·pursuant to the Federal Rules of Civil Procedure

25· · ·and the provisions stated on the record.



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                                                                                        Page 32
                                                          ·1· ·the changes for those.




13· · Q· · · Okay.· And are local elections officials
14· ·required to use these forms?
15· · A· · · So some yes, some no.· Mostly -- mostly
16· ·they're not required, and if they want to modify
17· ·it, they send the modification list to us to
18· ·review and see if it complies with the law.· So
19· ·they can do that with any of the forms, modify
20· ·them and get it -- get it approved by our office.
21· · · · · · · ·Applications for ballot-by-mail do not
22· ·have to follow any particular form.· Those
23· ·are -- those can be handwritten.· They can do
24· ·anything.· They just have to have the required
25· ·material, and they do not need prior approval for
